Case 2:05-cr-20278=JDB Document 1 Filed 07/21/05 Page 1 of 8 PagelD 1

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STRICT OF TENNESSEE
WESTERN DlVlSION
UN|TED STATES OF ANIER|CA,

Cr.No. 05"202783 P

PLAINT\FF,
18 u.s.c. § 1341

JUL 2 1 2005
DEFENDANT.

u.s.oi¢m¢cc°un
lNchTMENT `°"°'°""- W*S

THE GRAND JURY CHARGES:

lNTRODUCT|ON

1. On or about September 26, 2002, in the Western District of Tennessee,
defendant PAUL E. PH|LL|PS, l||, purchased a new 2003 Chevrolet Tahoe (hereinafter
referred to as “the Tahoe”) from a dealership located in Dyersburg, Tennessee.
Defendant PAUL E. PH|LL|PS, ||l, financed a total of $53,349.24 to complete the
purchase of the Tahoe. The company that financed the purchase ofthe Tahoe placed
a lien on the vehicle to secure the financing contract The financing contract required
defendant PAUL E. PH|LL|PS, |l|, to make a single, annual payment of $17,783.08 to
the lienholder each year for three years beginning September 27, 2003, one year
following the sale.

2. At the time he purchased the Tahoe, defendant PAUL E. PH|LL|PS, |l|, also
purchased a “GAP insurance” policy issued by Twin City l-"ire insurance Company.
This type of insurance policy covers any “gap” between the amount of money a liability
insurer will pay in the event of the loss of the covered vehicle and the amount of money

left to be paid on the financing contract covering the vehicle in the event that the

)

)

l
vs. ) 18 u.s.c. § 1343 - 1 -

) F l B:EJD BY
PAUL E. PH|LL|PS, lll, )

)

)

Case 2:05-cr-20278=.]DB Document 1 Filed 07/21/05 -Page 2 of 8 PagelD 2

amount of money left to be repaid to the finance company is greater than the amount of
money paid by the liability insurer for the loss of the vehicie. The dealership that sold
defendant PAUL E. PH|LL|PS, ii|, the Tahoe handled the sale of the “GAP lnsurance"
policy to defendant PAUL E. PH|LL|PS, |li.

3. in addition to the “GAP lnsurance" policy issued by the Twin City Fire
insurance Company, on or about September 26, 2002, defendant PAUL E. PH|LL|PS,
iii, also had the Tahoe covered under an existing automobile liability insurance policy
issued by State Farm l\/|utuai Automobiie insurance Company (hereinafter “State
Farm”). This type of policy reimburses the owner of the vehicle and any vehicle
lienholder for the loss or destruction of the covered vehicie. The State Farm transaction
Was handled by an insurance agent located in Dyersburg, Tennessee.

4. On or about September 27, 2003, defendant PAUL E. PH|LLiPS, i|l, was
required to make a payment of $17,783.08 to the lienholder. Defendant PAUL E.
PHiLLiPS, iil, never made the payment to the lienholder of $17,738.08 which was due
on September 27, 2003,

5. in or about September, 2003, defendant PAUL E. PH|LL|PS, |ii, took the
Tahoe to the dealership where he bought it and left it at the dealership’s lot with the
understanding that the dealership would try and sell the Tahoe.

6. One night on or about late September, 2003, acting at the direction of and
With the assistance of defendant PAUL E. PHiLLiPS, ||i, an individual removed the
Tahoe from the dealership lot and drove it to a boat ramp on the i\/iississippi River and

allowed the Tahoe to roll down the boat ramp and into the Mississippi River. On or

Case 2:05-cr-20278-,.]DB Document 1 Filed 07/21/05 Page 3 of 8 PagelD 3

about October 4, 2003, deputies from the Lauderdale County Sherift"s Department
recovered the Tahoe from the i\/iississippi River.

7. On or about October 4, 2003, defendant PAUL E. PHiLL|PS, l|i, contacted
the local State Farm agent and claimed that the Tahoe had been stolen.

8. On or about October 7, 2003, defendant PAUL E. PH|LLiPS, |||, met with a
State Farm claims representative in Jackson, Tennessee, and informed her that he had
asked an individual knowledgeable about body Work to inspect the Tahoe and that this
individual confirmed that the Tahoe was a total loss.

9. On or about October 10, 2003, the State Farm claims representative in
Jackson, Tennessee, sent defendant PAUL E. PHiLL|PS, ii|, a theft affidavit via United
States mail, which he completed and returned to State Farm.

10. On or about November 18, 2003, the State Farm claims agent in Jackson,
Tennessee, mailed a check for $41 ,04'|.05 to the lienholder via United States mail.
This check Was mailed in satisfaction of defendant PAUL E. PHiLL|PS, |i|, insurance
ciaim.

11. On or about December 8, 2003, an official With the local dealership in
Dyersubrg, Tennessee, that sold defendant PAUL E. PHiLL|PS, l||, the “GAP
lnsurance" policy faxed an “|AS claim cover sheet” with attached documents for the
“GAP lnsurance" policy to lAS Ciaims in Leander, Texas, in support of defendant PAUL
E. PHiLL|PS, ii|, insurance claim.

12. On or about February 4, 2004r Twin City Fire insurance Company paid the

iienhoider, Gl\/iAC, $12,308.09 in settlement of defedant PAUL E. PHiLL|PS, il|, claim.

Case 2:05-cr-20278~_.JDB Document 1 Filed 07/21/05 Page 4 of 8 PagelD 4

M.M
PURPOSE OF THE SCHEME AND ARTiF|CE TO DEFRAUD

13. Prior to and during the time period relevant to this indictment, the defendant,
PAUL E. PHlLLlPS, i|i, devised and intended to devise, a scheme and artifice to
defraud State Farm i\/iutual Automobile insurance Company and Twin City Fire
insurance Company of money and property.

THE SCHEME AND ARTiF|CE TO DEFRAUD

14. The scheme and artifice to defraud operated in the manner set forth in
paragraphs 1 through 12 herein, and these paragraphs are specifically incorporated
herein by reference

THE MA|L|NGS
15. On or about the dates listed below, in the Western District of Tennessee, and

eisewhere, the defendant,

 

PAUL E. PHlLLlPS

 

forthe purposes of executing and attempting to execute the scheme and artifice to defraud
described herein, did place or cause to be placed in the post office and the authorized
depository for mail matter, and did cause to be delivered by mail the things and matters

listed beiow, in violation of Titie 18, United States Code, § 1341:

 

 

 

 

 

 

Count No. Date of Mai|ing Thing or Matter Maiied
1 October 10, 2003 State Farm theft affidavit
2 November 18, 2003 check to lienholder

 

 

Case 2:05-cr-20278<JDB Document 1 Filed 07/21/05 Page 5 of 8 PagelD 5

COUNT 3: WIRE FRAUD

PURPOSE OF THE SCHEME AND ARTiF|CE TO DEFRAUD

 

16. Prior to and during the time period material to this indictment, the Defendant,
PAUL E. PHiLL|PS, i||, devised and intended to devise, a scheme and artifice to
defraud State Farm i\/iutuai Automobiie insurance Company and Twin City Fire
insurance Company of money and property.

THE SCHEME AND ARTiF|CE TO DEFRAUD

17. The scheme and artifice to defraud operated in the manner set forth in
paragraphs 1 through 12 herein, and these paragraphs are specifically incorporated
herein by reference.

'_|'_PLV!E
14. On or about December 8, 2003, in the Western District of Tennessee, and

elsewhere, the Defendant,

 

PAUL E. PHiLL|PS, |l|

 

for the purposes of executing and attempting to execute the scheme and artifice to
defraud described herein, did cause to be transmitted in interstate commerce, by
means of a wire communication, certain signs, signals and sounds, that is, an “iAS
claim cover sheet” with attached documents from a car dealership in the Western
District of Tennessee to an insurance claims processing company the State of Texas, in

violation of Tit|e 18, United Sates Code, §1343

Case 2:05-cr-20278=.]DB Document 1 Filed 07/21/05 Page 6 of 8 PagelD 6

A T UE BiLL: z
/%¢ALS/T

Foref)d,rson

DATED: 722©’625/

 

Western District of Tennessee

america
z< 953

Case 2:05-cr-20278_-.]DB Document 1 Filed 07/21/05 F?age 7 of 8 PagelD 7

2_0. .`imm©

 

 

 

 

CZ_._.mU m._.>._.mm U_m._._M_O._. OOC_N._.

sense .. sess s 1aa1§aa1

OHHBHDMW O__.<`m_.e:

 

 

._.Im CZ_._._mU m._\>._.mm O_H >§mD_O>

<m.
TDGH_ m. UEHH_HHTU` HHH

 

 

_Z_u_O._._<_mZ._.

 

I.__mQ 5 oven corn ==.m

c¢…§ 831 §

 

 

mae a .

 

  
             

UNITE ST"TRTESDISIC COURT - WESTERN

oFTENNESSEE

 

D'S"CTT

Notice of Distribution

This notice confirms a copy of the document docketed as number l in
case 2:05-CR-20278 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

Memphis7 TN 38103

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

